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16
                                     UNITED STATES DISTRICT COURT
17                                 NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
18
19   CEDRIC DE LISSER, CHRISTOPHER MOSER, )
     and MICHAEL MICHELIN, in their capacity as )
20   the Trustees of the Cred Liquidation Trust,     )
21                                                   )         Case No. 3:23-cv-00243-AMO
                    Plaintiffs,                      )
22           v.                                      )         [Removal from Superior Court of California,
                                                     )         County of San Francisco,
23   LOCKTON COMPANIES LLC, d/b/a                    )         Case No. CGC-22603638]
24   LOCKTON INSURANCE BROKERS LLC,                  )
     a Missouri limited liability company; LOCKTON )           JOINT CASE MANAGEMENT
25   COMPANIES, LLC- PACIFIC SERIES, d/b/a           )         STATEMENT
     LOCKTON INSURANCE BROKERS LLC, a                )
26   Missouri limited liability company; and DOES 1- )         State Action Filed: December 22, 2022
27   10, inclusive.                                  )
                      Defendants.                    )
28



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 1           The above-captioned Plaintiffs, trustees (“Trustees” or “Plaintiffs”) of the Cred Liquidation
 2   Trust (“Trust”), and above-captioned Defendants (collectively, “Lockton” or “Defendants”), jointly
 3   submit this Initial Case Management Statement.
 4   1. Jurisdiction and Service:
 5   A. Trustees’ Position. Defendants removed this case alleging “related to” bankruptcy jurisdiction
 6   pursuant to 28 U.S.C. § 1334(b). The Trustees filed a Motion to Remand on February 18, 2023. There
 7   is no basis for federal subject matter jurisdiction over these state law claims. The Bankruptcy Court,
 8   assessing the assignment of creditor claims (such as the Trust Assignors), agreed. That Court found
 9   “Lockton’s suggestion in its notice of removal that the trust’s right to bring suit raises questions of
10   federal bankruptcy law or requires a construction of the confirmed plan is incorrect.” The Trust
11   Assignors’ claims are also direct claims, not derivatives ones. All elements of the claims are specific to
12   the Trust Assignors: their individual receipt of misrepresentations, extent of reliance, date of investment,
13   amount of damages, among other things. A close nexus cannot arise from Lockton combing through
14   the Bankruptcy Court docket and claiming any tangential connections to this case constitutes grounds
15   for jurisdiction. Venue should be determined after a decision on remand. All parties have been properly
16   named, and Lockton does not dispute personal jurisdiction. There are no current parties left to be served.
17   B. Lockton’s Position. This Court has jurisdiction pursuant 28 U.S.C. §§ 1334(b), 1446, 1452(a) and
18   1453, and Rule 9027 of the Federal Rules of Bankruptcy Procedure, as this Action is “related to” the
19   bankruptcy proceeding In re Cred Inc., et al., Case No. 20-bk-12836 (“Cred Bankruptcy”) pending in
20   the Bankruptcy Court for the District of Delaware (“Bankruptcy Court”). See Celotex Corp. v.
21   Edwards, 514 U.S. 300, 307-308 (1995); In re Wilshire Courtyard, 729 F.3d 1279, 1287 (9th Cir. 2013).
22   The Action is “related to” the Cred Bankruptcy because the Trust was created by a chapter 11 bankruptcy
23   plan of reorganization and: (i) there was a dispute at the time of removal as to whether the Trust had the
24   authority to acquire the third-party claims alleged in this Action; (ii) the claims asserted by the Trust
25   belong to, and were preserved by the plan of reorganization as belonging to, the bankruptcy estate; and
26   (iii) adjudication of this Action will require interpretation of the Bankruptcy Court’s orders, including,
27   but not limited to, its order that Lockton’s services were in the best interests of the bankruptcy estate.
28   The parties do not dispute that this Court has personal jurisdiction over the parties and that this Court is


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 1   a proper venue for this Action. There are no outstanding parties left to be served.
 2   2. Fact Positions:
 3   A. Trustee’s Position.
 4          Overview: The Trust is pursuing claims assigned to it by Trust Assignors, who are customers of
 5   Cred Inc. (“Cred”), a cryptocurrency company. From late June 2019 to October of 2020, under the
 6   CredEarn program, the Trust Assignors lent crypto to Cred for a fixed period in return for interest
 7   payments. CredEarn customers relied on misrepresentations, authored by Lockton and bearing its logo,
 8   that stated that CredEarn customers were protected against losses on their unsecured crypto loans
 9   because Cred was insured for those losses. Specifically, the misrepresentations said that CredEarn
10   customers were fully insured for a Cred service that “did not have the promised results,” including “the
11   borrowing of crypto from a client related to the terms and conditions of a Cred Agreement.” The
12   CredEarn customers were purportedly protected by this “comprehensive” insurance coverage that would
13   make them “whole.” The representations about Cred’s insurance coverage were blatantly false. These
14   misrepresentations induced the Trust Assignors to participate in the CredEarn program.
15          Lockton and Cred knew the representations were false. Daniel Schatt, a founder, director, and
16   CEO of Cred designed the CredEarn program and set out to manufacture false assurances that would
17   lure customers into the program. Lockton brokered Cred’s insurance policies and knew the terms were
18   not consistent with the misrepresentations. In March through May of 2019, Lockton eagerly helped Cred
19   promote the CredEarn program by actively drafting the misrepresentations.
20          Cred lost the money raised from Trust Assignors’ crypto in a variety of reckless and/or fraudulent
21   investments. The Trust Assignors were never repaid their crypto or interest owed because the promised
22   insurance did not in fact exist. The Trust Assignors reasonably relied on Cred’s false representations
23   that it had adequate insurance to protect them against losses, and suffered damage caused by the acts of
24   Lockton. After Cred could not return the Trust Assignors’ crypto, Lockton knew it was in trouble and
25   told Cred to take down its misrepresentations.
26          Specific Facts of Case: On March 29, 2019, Lockton began working with Dan Schatt at Cred to
27   “craft a public-facing 1-3 paragraphs on [Cred’s] website” about its insurance coverage. Emails show Jeff
28   Koo (“Koo”), a Senior Lockton Officer, cut off those below him in rank and said he and his team would


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 1   take over and draft the statements for Cred’s website. Koo explicitly agreed to ensure the accuracy of
 2   statements about the insurance coverage and the terms of the policies disclosed to the public.
 3          From April to the end of May 2019, Jeff Koo, drafted a disclosure for Cred with Schatt which
 4   was intended to be viewed on Cred’s website. He said: “I want to help you draft what you want to put
 5   on your website” and “get this written down on our end.” He stressed that he would “be reaching out
 6   direct to have this drafted with you.” Koo suggested language and checked in with Scatt. On May 13,
 7   2019, Schatt sent Koo a “stab at the language for the [w]ebsite” that adopted Koo’s suggestions. The
 8   draft statements were headlined “Going Above and Beyond.” Koo responded to the draft statement
 9   praising it as a “[v]ery nice piece of work.” Koo said to Schatt: “I am working with my team this week
10   to ensure that the coverage stated is within the terms and conditions. On May 27, 2019, Koo limited
11   changes of the Draft Going Above and Beyond statements, which related to Cyber and Regulatory
12   Insurance. But none of those changes altered the important misleading claims in the draft statements.
13   Koo then gave Cred the green light for Cred to post and otherwise use the disclosure.
14          The public-facing statements coauthored by Koo were posted on the Cred website, accessible
15    through the website at Medium.com and appeared elsewhere. The statements on the website
16    prominently displayed Lockton’s logo at the top, but no logo of Cred, and with no other author. The
17    Lockton/Cred Statement had many false claims including, among others: (1) Cred had one of the most
18    comprehensive insurance policies available to a crypto company. (But Lockton knew that Cred’s
19    policies were minimal measured against size of its potential business and the scope of the exclusion
20    clauses). (2) Cred was selected by underwriters for insurance coverage because of its highly reputable
21    strategic partners, its best practices with its partners, its executive team, and its ability to demonstrate
22    sound policies and procedures and adequate supervision. (But Lockton knew that Cred had been turned
23    down for coverage by certain insurers due to its poor business practices). (3) Cred’s E&O Insurance
24    covered “the inability of customers to access or otherwise utilize Cred’s intended service” and it “holds
25    Cred responsible for a service that it failed to provide or did not have the promised results. Services,
26    included the borrowing of crypto from a client related to the terms and conditions of a Cred
27    Agreement.” (But Lockton knew that the E&O insurance endorsements gutted all coverage of this type,
28    and Cred had no other insurance to cover this loss); and (4) Cred’s insurance would make customers


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 1    whole in the event of a loss. (But Lockton knew Cred’s insurance could leave customer with huge
 2    losses which it did).
 3          From the end of May 2019 to October 2020, the Trust Assignor customers read the statements
 4    on Cred website and received various emails or participated in telephone calls or meetings with Cred
 5    in which the Lockton misrepresentations were repeated. The Trust Assignors made decisions to lend
 6    their crypto based on these false representations. Facts about each Trust Assignors’ specific and
 7    reasonable reliance on the statements are set forth in the FAC (and proposed SAC). The Trust Assignors
 8    were never paid back their crypto and interest. The Trust Assignors suffered damage set forth below.
 9    This is the sole case the Trust is pursuing for damage to the Trust Assignors.
10          Because the representations were clearly false, the primary factual dispute is whether Lockton’s
11    authorship and involvement in the misrepresentation are sufficient to prove the Trust’s claims that
12    Lockton made the false representations or aided and abetted Cred in making the misrepresentation.
13   B. Lockton’s Position.
14          Cred Inc.’s Business. Cred, Inc. (“Cred”) was founded in 2018 to provide lending and
15   borrowing services that enabled its clients “to leverage value from their digital assets.” Decl. of Drew
16   McManigle in Support of First Day Motion, Cred Bankr. ECF 16 at ¶ 15 (Nov. 9, 2020). Cred “offer[ed]
17   technology solutions for crypto assets, partnering with the leading wallet and exchange providers to
18   enable liquidity in the form of borrowing or lending” and in particular, a “solution” called “CredEarn”,
19   which allowed “owners of crypto assets to earn interest on their crypto holdings.” Id.
20          Specifically, Cred’s business involved the transfer by customers of cryptocurrency to the
21   Debtors, usually pursuant to a loan or financing agreement. Amended Chapter 11 Combined Plan &
22   Disclosure Statement of Cred Inc. and Its Subsidiaries, Cred Bankr. ECF 380 at 14 (Jan. 21, 2021). Cred
23   would then use the cryptocurrencies “in a variety of investment strategies involving third-party asset
24   managers” to earn revenue by generating returns. Id. at 15. However, because Cred’s “business model
25   was premised on . . . investing . . . with asset managers, [Cred] generally did not [] hold significant
26   amounts of [c]ryptocurrency.” Id. at 14-15. When customers terminated their accounts with Cred, Cred
27   “generally had to withdraw [c]ryptocurrency from asset managers to purchase new [c]ryptocurrency in
28   the open market at then-prevailing prices in order to repay [c]ustomers[.]” Id.


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 1          Lockton’s Business. Lockton is an insurance broker that acts as an intermediary between the
 2   insurer and the insured. Prior to its bankruptcy, Cred maintained several insurance policies that were
 3   brokered by Lockton Companies, LLC – Pacific Series d/b/a Lockton Insurance Brokers, LLC.
 4   Examiner’s Report of Robert J. Stark, Cred Bankr. ECF 605 at 39-40 (Mar. 8, 2021). Those policies
 5   included, among other policies, a commercial package policy, a cyber liability policy, an errors and
 6   omissions policy, a directors and officers policy, excess directors and officers insurance, and coverage
 7   for certain of Cred’s lawyers (collectively, “Insurance Policies”). Id.
 8          The Principal Factual Issues in Dispute. On March 29, 2019, before the Insurance Policies
 9   were bound, Cred’s CEO Daniel Schatt e-mailed Lockton that Cred management was “looking for how
10   [they] [could] craft” language about the insurance policies for Cred’s website. Lockton Associate
11   Nyreese Arzu referred Schatt to the website of another cryptocurrency company to use as a model for
12   his draft. After further correspondence and at Schatt’s request, Lockton Producer Member Jeffrey Koo
13   then offered to “have a conversation over the phone” so that Schatt could “get this written down on
14   [Schatt’s] end.” On April 3, 2019, Koo sent Schatt “the common definition of a Directors and Officers
15   liability” policy and told Schatt they could discuss “once [Schatt] had a first draft.”
16          Several weeks later, on May 13, 2019, Schatt sent Koo proposed “language for the [Cred]
17   Website.” The language was an article titled “Going Above and Beyond,” which included discussion of
18   Cred’s business practices, its efforts to obtain insurance, and certain types of insurance coverage that
19   Cred had obtained. After discussing the language with other Lockton Associates, Koo sent Schatt
20   suggested revisions, deleting certain language from Schatt’s draft. At some point thereafter, after making
21   further material changes (and without soliciting further review by Lockton), Cred posted Schatt’s article
22   on its website and on Medium.com, listing “Daniel Schatt, Co-Founder and President of Cred” as author.
23          According to the Complaint, the Trust Assignors read the statements on Cred’s website and in
24   the Medium article, and received similar information in statements purportedly made by Cred
25   employees, and formed the incorrect belief that insurance would cover the value of their crypto assets
26   under any and all circumstances. See Complaint at ¶¶ 91-106. Further, according to the Complaint, the
27   Trust Assignors engaged in business with Cred in reliance upon those statements. Id. The Complaint
28   does not allege that any Trust Assignor spoke to Lockton prior to utilizing Cred’s services.


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 1          At the end of 2020, the trading value of cryptocurrency fell significantly, and Cred’s business
 2   model left it overexposed. Among Cred’s extensive failures were “un-systematic, chaotic, and, in some
 3   instances, non-existent diligence, accounting, and compliance functions” as well as lending to entities
 4   “without legal or practical capacity to repatriate capital as and when requested/needed by Cred[.]”
 5   Examiner’s Report at 4. On November 7, 2020, Cred filed for bankruptcy, still indebted to several
 6   customers. Certain of those customers purportedly assigned their rights to the Trust, and the Trust now
 7   purports to assert claims against Lockton on their behalf. The Trust has done the same to other third-
 8   parties, including Uphold HQ, Inc. (“Uphold”) on July 22, 2022, asserting claims for disseminating
 9   false marketing materials and misappropriating the cryptocurrency that is the subject of this Action. On
10   April 13, 2023, the United States Bankruptcy Court for the District of Delaware found that the Trust’s
11   complaint was “obscur[e] and incomprehensib[le]” and dismissed the Uphold action because the “claims
12   alleged [were] at best only possible, not plausible[.]” See Mem. Op., ECF 26, No. 22-ap-50398 at 3-4.
13          The primary factual issues in dispute will be the falsity of any representations made by Cred to
14   its customers; Lockton’s involvement in or understanding of any representations made by Cred to its
15   customers; the Trust Assignors’ reliance on any representations made by Cred to its customers; and any
16   damages, including the quantum, allegedly suffered by the Trust Assignors.
17   3. Legal Issues: The Parties have not yet commenced discovery. Therefore, a complete and accurate
18   list of legal disputes cannot be provided at this time.
19   A. Lockton’s Position.
20          Defendants currently believe that this case will involve at least the following legal disputes.
21   (1) Whether the Trust’s claims are subject to the jurisdiction of this Court via “related to” jurisdiction?
22   (2) Whether the Trust’s claims are barred by the statute of limitations?
23   (3) Whether the Trust’s claims are pled with sufficient particularity?
24   (4) Whether the Trust’s claims are valid, enforceable and “allowed” under the Bankruptcy Code?
25   (5) Whether third-parties and/or the Trust itself is or are to blame for any harms allegedly suffered?
26   (6) Whether the Trust states a claim upon which relief can be granted?
27   (7) Whether the Trust’s claim under Cal. Bus. and Professional Code § 17200, et seq. seeks an
28   appropriate form of relief?


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 1   B. Trustees’ Position.
 2       The Trust does not believe Defendants’ issues pose any barrier to their claims because (1) The
 3   Parties’ positions on jurisdiction are set forth in their respective briefing in the pending Motion to
 4   Remand, (2) The Trustees’ position is that their claims are timely, including by application of the
 5   discovery rule, see SAC, ¶¶ 33-34; Cal. Civ. Proc. Code § 338(d) (“The cause of action in that case is
 6   not deemed to have accrued until the discovery, by the aggrieved party, of the facts constituting the
 7   fraud or mistake.”), (3) The Parties will brief any legal issue about the sufficiency of the claims in
 8   connection with the motion to dismiss, (4) The Trustees’ position is that, though the customer claims
 9   are limited in bankruptcy to their allowed claims, the Trust is not limited to damages that are otherwise
10   capped by the provisions of the Bankruptcy Code, (5) The Trustees’ position is that this is not a legal
11   issue given the factual disputes; proximate cause is a fact issue for the jury. Lawson v. Safeway Inc., 191
12   Cal. App. 4th 400, 416, 119 Cal. Rptr. 3d 366, 378 (2010), (6) This legal issue is duplicative of the
13   Parties’ assertions about the sufficiency of the claims, (8) The Trustees’ position is that it requests relief
14   permitted under California’s Unfair Competition Law. Cal. Bus. and Professional Code § 17203
15   (permitting restitution).
16   4. Motions:
17   Pending Motions. Lockton removed this Action to this Court from the Superior Court of California,
18   County of San Francisco, on January 18, 2023. ECF 1. The Trust filed a motion to remand or, in the
19   alternative, for equitable remand on February 17, 2023. ECF 29. On March 3, 2023, Lockton filed its
20   opposition to the motion (ECF 31) and a request for judicial notice (ECF 32). The Trust filed its reply
21   in support of its motion on March 10, 2023. ECF 33. The motion is fully submitted. On March 27, 2023,
22   this Court determined that the motion was suitable for decision without oral argument and vacated the
23   scheduled oral argument. ECF 37.
24   Anticipated Motions. Lockton expects to file a motion to dismiss this Action at such time after this
25   Court has issued a decision on the motion to remand. The parties have agreed, and this Court ordered, a
26   briefing schedule for that motion to dismiss. ECF 18. At this time, the parties agree that it is premature
27   to determine what other motions, if any, may be filed.
28


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 1   5. Amendment of Pleadings: The Trustees filed an original complaint in California State Court based
 2   on state law claims. The original complaint was amended by the First Amended Complaint (“FAC”).
 3   Reserving all Parties’ rights (to remand or admission of facts), a Stipulation with Defendants permitting
 4   Plaintiffs to file the Second Amended Complaint (“SAC”) was approved by this Court on May 25, 2023.
 5   The Parties are awaiting a remand decision.
 6   6. Evidence Preservation: The Parties have reviewed the Guidelines Relating to the Discovery of
 7   Electronically Stored Information. The Trust and Lockton have taken steps to comply with their
 8   respective preservation obligations. The Trust has informed the Trust Assignors of their duty to preserve
 9   discoverable information. Counsel for Trustees and Lockton have reviewed this Court’s Guidelines
10   Relating to the Discovery of Electronically Stored Information.
11   7. Disclosures: The Parties intend to exchange initial disclosures on the earlier of (i) 10 days after the
12   Court issues a decision on the Motion to Remand or (ii) 10 days before any case management
13   conference. If neither event occurs by July 14, 2023, then initial disclosures will be due August 1, 2023.
14   8. Discovery:
15   A. Trustees’ Position. No discovery has been taken to date. The Trust is prepared to discuss with
16   Lockton stipulations regarding the confidentiality of discovery information and the discovery of ESI.
17   Lockton has sought one-sided and wide-ranging discovery outside of the discovery schedule, and
18   without permission of this Court. In Bankruptcy Court, Lockton said: “there are a number of questions
19   that Lockton has about the assignments themselves about which we've sought discovery here and been
20   denied, that we may not get in California.” The Trust has not responded to these improper and premature
21   requests. The Trust Assignors have been asked to preserve all documents and information as has been
22   the Trust. Discovery shall address Lockton’s obvious involvement in the insurance misrepresentations,
23   its knowledge of them, and efforts to cover-up its misdeeds.
24   B. Lockton’s Position. No discovery has been taken to date. The claims the Trust have asserted
25   purportedly belong to customers who have assigned their claims to the Trust. As such, Lockton
26   requested that the Trust provide evidence of the assignment or evidence that each assigning customer
27   preserved documents. The Trust refused. Lockton is concerned that such refusal may stem from issues
28   regarding document preservation. The parties have not yet identified any additional discovery disputes.


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 1          Lockton is prepared to discuss with the Trust stipulations regarding the confidentiality of
 2   discovery information and the discovery of ESI. Lockton expects to seek discovery from the Trust and
 3   Trust Assignors regarding Cred’s representations regarding its products and its insurance, including
 4   Cred’s drafting and authorship of such representations; the Trust Assignors’ understanding of Cred’s
 5   products, including their risks; the Trust Assignors’ reliance on any purported statements regarding
 6   insurance; the Trust Assignors’ assignments of claims, including all communications regarding the
 7   same; the Trust Assignors’ recoveries in the Cred Bankruptcy; the Trust’s management of the Cred
 8   Bankruptcy estate; and all other allegations made by the Trust.
 9   9. Class Actions: This case is not a class action.
10   10. Related Cases:
11   A. Trustees’ Position. There are no “related” cases. This case is being pursued post-confirmation by a
12   Trust created from a chapter 11 plan in the District of Delaware (case no. 20-12839) confirmed over 2
13   years ago. The Bankruptcy Court found in connection with an assignment decision that the Trust can go
14   about its business without approval or involvement of the Bankruptcy Court. Lockton’s pending appeal
15   of the Bankruptcy Court Decision mentioned below should not impact this litigation.
16   B. Lockton’s Position. There are two pending cases that are related to this Action: (1) The Cred
17   Bankruptcy (In re Cred Inc., Case No. 1:20-bk-12836 (Bankr. Del.)); and (2) An appeal from Judge
18   Dorsey’s February 10, 2023 Order Granting the Motion of the Trustees of Cred Inc. Liquidation Trust
19   to Clarify the Trust’s Authority to Acquire Certain Third-Party Claims (Lockton Companies, LLC, et al.
20   v. Cred Inc. Liquidation Trust, Case No. 1:23-cv-210 (D. Del.).
21   11.    Relief Requested: The Trustees allege damages to be the crypto never repaid and interest. The
22   damages may depend on crypto prices and the date of a judgment but are currently over $113 million of
23   crypto value plus interest of over $9 million.
24   12. Settlement and ADR: The Parties met and conferred regarding ADR and settlement opportunities
25   on March 22, 2023.
26   A. Trustees’ Position. The Trust has expressed an interest in mediating the case with a private
27   mediator, when Lockton is prepared to offer value for the Trust’s claims.
28   B. Lockton’s Position. Lockton does not believe that ADR is appropriate at this time. To the extent


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 1   not mooted by any Court Order, Lockton agrees to meet and confer regarding an ADR plan for the case
 2   within 21 days of this Court’s Order on Lockton’s anticipated motion to dismiss.
 3   13. Other References: Both Parties agree that the case is not suitable for reference to binding
 4   arbitration, a special master, or the Judicial Panel on Multidistrict Litigation.
 5   14. Narrowing of Issues: There are no issues capable of being narrowed at this time.
 6   15. Expedited Trial Procedure: Both Parties agree that this case should not be expedited.
 7   16. Scheduling:
      Event                             Plaintiff’s Position              Defendants’ Position
 8
      First Document Requests           8/14/2023                         8/14/2023
 9    Document Production               11/1/2023                         2/26/2024
      Complete
10    Fact Depositions                  Begin: 12/1/2023                  Begin:3/25/2024
11                                      End 2/29/2023                     End: 9/23/2024
      Designate Plaintiffs’ Experts     4/18/2024                         10/21/2024
12    Designate Defendants’             5/20/2024                         11/18/2024
      Experts
13
      Rebuttal Reports                  6/4/2024                          12/16/2024
14    Expert Depositions                6/28/2024                         1/13/2025
      Motion For Summary                7/31/2024                         2/13/2025
15    Judgment
16    Opposition MSJ                    8/30/2024                         3/13/2025
      Replies to MSJ                    9/13/2024                         4/3/2025
17    Hearing on Dispositive            10/3/2024                         4/24/2025
      Motions
18
      Pre-Trial Conference              11/7/2024                         7/27/2025
19    Trial                             12/9/2024                         8/25/2025
20   17. Trial: The Trust has requested a jury trial as to all claims so triable. SAC at ¶ 222. The expected

21   length is one week. Lockton believes that it is premature to discuss the expected length of trial, including

22   because no discovery has yet taken place.

23   18. Disclosure of Non-party Interested Entities or Persons:

24   The Trustees filed their certification on March 1, 2023. No party, other than Trust beneficiaries (former

25   creditors of Cred) has an interest that could be substantially affected by the outcome of the proceeding.

26   Lockton filed its Certification and Interested Entities or Persons on January 18, 2023 (ECF 2). Lockton

27   certifies that Lockton Insurance Agency, LLC (Corporate Member) has a financial interest in the subject

28   matter or in controversy or in a party to the proceeding.


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 1   19. Professional Conduct: All attorneys have read the Guidelines for Professional Conduct for the
 2   Northern District of California.
 3                                                 Respectfully submitted,
 4
                                                  REID COLLINS & TSAI LLP
      DATED: May 31, 2023
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16                                                    Telephone: (415) 510-2509

17                                                    Special Counsel to Trustees of the Cred Inc.
                                                      Liquidation Trust
18
19
                                                  QUINN, EMANUEL, URQUHART &
      DATED: May 31, 2023                         SULLIVAN LLP
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 8                                   LLC and Lockton Companies LLC – Pacific
                                     Series, LLC
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 1                                      CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that the foregoing document was filed electronically in
 3   compliance with Civil L.R. 5-1 and will be served upon all counsel of record for the parties who have
 4   consented to electronic service in accordance with Civil L.R. 5-1 via the Court’s ECF System.
 5
     Dated: May 31, 2023                                By:     /s/ Angela J. Somers
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                                                                Angela J. Somers
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